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 Of Counsel
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 Los Angeles, CA 90025

 Attorneys for Plaintiff

                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF HAWAII

                                               )
 CYRUS HOWE,                                   ) Case No.: 1:11-cv-00415-DAE-KSC
                                               )
                 Plaintiff,                    )
         v.                                    ) NOTICE OF VOLUNTARY DISMISSAL
                                               )
 CRESTWOOD MANAGEMENT, LLC.,                   )
                                               )
                                               )
                 Defendant.                    )

                                 NOTICE OF VOLUNTARY DISMISSAL

      CYRUS HOWE (Plaintiff), by his attorneys, KROHN & MOSS, LTD., and pursuant to

 FRCP 41(a)(1)(A) (Dismissal of Actions—Voluntary Dismissal By Plaintiff Without Court

 Order) voluntarily dismisses the above entitled matter with prejudice.




                                                                                     1
                                NOTICE OF VOLUNTARY DISMISSAL
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                                 Respectfully Submitted,


 DATED: January 24, 2012                KROHN & MOSS, LTD.

                                   By: /s/ Leslie K. Iczkovitz
                                      Leslie K. Iczkovitz, Esq.
                                     Attorney for Plaintiff




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                           NOTICE OF VOLUNTARY DISMISSAL
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 24, 2012, I electronically filed the foregoing Notice of

 Voluntary with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

 electronically submitted by electronic mail to the following:

        Robert P. Crane

        Attorney at Law &

        Director of Legal Services

        Crestwood Mgmt LLC

        Direct: 440.484.2569

        Fax: 440.484.2802

        RCrane@CrestwoodManagement.com



                                        By: /s/ Leslie K. Iczkovitz
                                          Leslie K. Iczkovitz, Esq.
                                         Attorney for Plaintiff




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                               NOTICE OF VOLUNTARY DISMISSAL
